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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                                                                     ORDER
              v.                                                    03-CR-87A

ANTHONY DEVONSHIRE,

                                   Defendant.




              Defendant Anthony Devonshire's motion, pursuant to Rule 35(a) 0f the

Federal Rules of Criminal Procedure, to correct his sentence imposed by this Court on

November 1, 2005 is hereby denied, because: (1) the motion was not granted within

seven (7) days of sentencing and the Court therefore lacks jurisdiction to grant the

motion; and (2) the sentence did not result from arithmetical, technical or other clear

error as required under Rule 35(a).



              IT IS SO ORDERED.
                                   /s/   Richard J. Arcara
                                   HONORABLE RICHARD J. ARCARA
                                   CHIEF JUDGE
                                   UNITED STATES DISTRICT COURT

DATED: November 23           , 2005
